   Case 1:17-cr-20796-KMM Document 96 Entered on FLSD Docket 06/18/2019 Page 1 of 4

           1.
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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.      17-cr-20796-KMM
UNITES STATES OF AMERICA,


                                    Plaintiff(s),

        vs.

  Ted Harvey Vernon
                                    Defendant(s).
        ~----------------/
                                           RELEASE OF EXHIBITS

             The undersigned hereby acknowledges receipt of exhibit(s)
        listed below for the following reason(s):

                D      Guns, jewelry, currency, drugs, explosives
                       Item Nos.

                D      Oversize records (larger than 10" x 12" x 15")

                D      Item Nos.
                       Stored _b_y__R_e_c_o_r_d_s_S_e_c_t_i_o_n_i_·n_:_D
                                                                      __M_i_a_m_i_D    w_P_B_CJ
                                                                               ___F-TL_D
                                                                                      __  __
                [{]Other (Explain): Government'sOriginalExhibitsReD.E.92




        cz:J Attachments
                (Exhibit list, Order of Court)
                                                   Signature:

                                                   Print Name:

                                                   Agency or Firm:      IJS!fD
                                                   Address:        C(q /(G   4k   ~~


                                                   Telephone:  SOS-- 9-6 1-
                                                   Date:    6- I 8 'I~
        ORIGINAL - Court File
        cc: Records Section
            Courtroom Deputy
            Counsel of Record
Case
 •   1:17-cr-20796-KMM Document 96 Entered on FLSD Docket 06/18/2019 Page 2 of 4




                                       UNITED ST ATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA


      UNITED STATES OF AMERICA                                              GOVERNMENT EXHIBIT LIST

                     v.
                                                                                                     f1-671 ~
      TED HARVEY VERNON,                                                   CASE NUMBER: 17-~9-CR­
                                                                           MOORE/BECERRA
                                Defendant.

   PRESIDING JUDGE                                            GOVERNMENT                 DEFENDANT'S
                                                              ATTORNEY                   ATTORNEY
   Hon. Jacqueline Becerra, U.S.M.J.
                                                              AUSA Lisa H. Miller        Barry Wru<, Esq.
                                                                                         fl1 \ C...~ cM--J. J
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                                                                                                                •   I DI. --z.,
   TRIAL DATE
                                                              'COU~T~ER
                                                               fve... {..                      cf
                                                                                         COURTROOM DEPUTY
   lf f?>_j f1 q 5 /Jlf/ 9-o I Cj                                                     .e..--i.
                                                                \) a.v-:>v'\. 5 0\ \J 'i V\..O
                                                                                               I  D ~OhV\..SOY\
   GOV. NO.   DEF    DATE        MARKED      ADMITTE                     DESCRIPTION OF EXHIBITS
              NO.   OFFERED                  D


     GXl                                                      Photos taken from inside Defendant's Office during
                    '1/ti/,,       -/                 J       August 27, 2018 USPO Search
     GX2            '-'I 11        /                  J       USPO Seized Property Record - August 27, 2018
     GX3
                    '-(/ti        ./              ./          ATF Report 14 - Summary of USPO Search on August
                                                              27, 2018 and attached additional photographs from ATF
    GX4A
                    7J/~           v              J           ATF Report 13 - Summary of G.G. Interview, August 3,
                                                              2018
    GX4B                                                  I   ATF Report 17 - Summary of G. G. Interview, April I 0,

   GX4C                II
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                                   Il
                                       \\
                                              ,,  I
                                                              2019
                                                              Transcript of G.G. Recorded Statement, July 26, 2018
   GX4D                   I\       11         1I              Affidavit/Sworn Statement of G. G., August 13, 2018
   GX4E                \I          I!        II               Legal Demand (Notarized) by G.G., August 13, 2018
    GXS                   l (      \ \.       (   (           ATF Report 16 - Summary of D.H. Interview, April 9,
                                        .             .       2019
   GX6A             'ifv~         v          J                ATF Report 15 -Nexus Report, August 29, 2018
   GX6B
                    5{-iJ-t       /          /                Firearms Trace Summary for Firearms found on August
                                                              27, 2018 during USPO Search
    GX7
                    s/1t           ./        J                Final Judgment/Injunction, Ziel v. Vernon, March 20,
                                                          /   2017
    GXS
                    7/~
                                   ,./       J                Petition for Injunction, Ziel v. Vernon, September 23,
                                                              2016

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                                                                                 ~SCANNED
I    ..    .. 1:17-cr-20796-KMM
          Case       ...        Document 96 Entered on FLSD Docket 06/18/2019 Page 3 of 4
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               GX9
                          '3/~          J        /        Defendant's Factual Proffer and Plea Agreement,
                                                          17cr20796-KMM
              GXlO
                          t-fI I 'I>   ./       J         Defendant's Judgment & Conviction, 17cr20796-KMM
              GXll
                         5/;rLf        ((       ,,        ATF Report 5 - Summary of October 25, 2017 incident
                                                          giving rise to case and attached photographs
              GX 12         11         f\
                                            ~
                                                ,,    /   ATF Report 8 - Nexus Report, October 30, 2017
              GX13
                          5f'V1         ....;   ../       DNA Report, January 11, 2019
              GX 14        '11         I\       /I        Emails re: Vernon v. Ziel

              GX15         I   J
                                       fl        I{
                                                          Criminal Complaint,     l 7-mj-3476-McAliley   (United
                                                          States v. Vernon)


                          5/g-y        J        J         VI cLe..o     o+    ,De-ft!>     o-W-1' ~
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            Case 1:17-cr-20796-KMM Document 96 Entered on FLSD Docket 06/18/2019 Page 4 of 4



                                                     UNITED STATES DISTRICT COURT
                                                              SOUTHERN                   DISTRICT OF                       FLORIDA



                                          USA
                                                                                                                      EXHIBIT AND WITNESS LIST
                                            v.
                        TED HARVEY VERNON                                                                                    Case Number: 17-20796-CR-MOORE

    PRESIDING JUDGE                                                        PLAINTIFF'S ATTORNEY                                      DEFENDANT'S ATTORNEY
             Magistrate Jacqueline Becerra                                                      Lisa Miller                                           Richard J. Diaz
    TRIAL DATE (S)                                                         COURT REPORTER                                            COURTROOM DEPUTY
                       4/18/19 & 5/24/19                                           Y. Hernandez & D. Savino                                             D. Johnson
     PLF.      DEF.        DATE
                                           MARKED           ADMITTED                                           DESCRIPTION OF EXHIBITS* AND WITNESSES
     NO.       NO.        OFFERED

       x                 4/18/2019                                        USPO Lori Morales

       x                 4/18/2019                                        Glenda "Gia" Gomez

       x                 5/24/2019                                        USPO Lori Morales-redirect-recross

       x                 5/24/2019                                        continuation of Glenda "Gia" Gomez

       x                 5/24/2019                                        ATF SI A Crystal Eshelman

                 x       5/24/2019                                        Richard Wolfe

                 x       5/24/2019                                        Barry Wax

                 x       5/24/2019                                        USPO Ralph Hughes




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    • Include a notation as to the locahon of any exh1b1t not held with the case file or not available because of size .

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